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                                   STATEMENT OF FACTS

        Your affiant, James D. Patterson is a Task Force Officer assigned to the Federal Bureau of
Investigation’s (FBI) Columbia Field Office. Currently, I am tasked with investigating criminal
activity in and around the Capitol grounds on January 6, 2021. As a Task Force Officer, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of a violation of federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       Four individuals contacted the FBI tip line separately to report that John and Stacie
Getsinger (John Hubert Getsinger Jr. and Stacie Ann Hargis-Getsinger) traveled from Hanahan,
South Carolina to participate in the protest and subsequent riot at the U.S. Capitol Building in
Washington, D.C. An anonymous caller (W1) stated a video exists of the Getsingers entering
the Capitol Building saying, "This is War! We’re storming the Capitol!"

       A second individual (W2) submitted a tip advising W2 is part of a Facebook group where
Stacie Getsinger posted about being inside the Capitol Building.

        A third individual (W3) submitted an online tip to the FBI stating W3 is a family member
of Stacie Getsinger and knows John and Stacie Getsinger were involved in storming the Capitol
Building. W3, who wished to remain anonymous, sent an email to affiant following a telephone
conversation with W3. The email, which is provided below, is a screen capture of a Facebook
post made by Stacie Getsinger on January 6, 2021 admitting to going inside the Capitol Building
during the riot.
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Figure 1: Screen capture depicting Stacie Getsinger admitting to going into US Capitol.
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       On February 1, 2021, affiant spoke with a fourth individual (W4) who stated W4
preserved some now deleted Facebook posts showing John and Stacie Getsinger at the Capitol
Building on January 6, 2021. W4 also provided four videos W4 said he/she had obtained from
Facebook Live which had been live-streamed by someone who identified herself as Stevie Sims.
A video shows John and Stacie Getsinger at the door of the Capitol Building in front of Sims.

Figure 2: Screen capture taken from Facebook Live video showing Stacie Getsinger outside US
Capitol doors.
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Figure 3: Screen capture taken from Facebook Live video showing John Getsinger outside US
Capitol.
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      W4 advised and sent screen captures that the Getsingers and others were coordinating rides to
Washington, D.C. on a public Facebook group called “Berkeley County Growth & Development.”

Figure 4: Screen capture sent by W4 showing Stacie Getsinger posting on the Berkeley County Growth &
Development Facebook page.
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Figure 5: Screen capture sent by W4 showing Stacie Getsinger posting on the Berkeley County Growth &
Development Facebook page stating “we are on the bus headed to DC!”




       A review of security camera footage from the Capitol Building show two individuals who
law enforcement believe to be John and Stacie Getsinger enter the Capitol Building (Figure 6)
and remain inside for an extended period of time on January 6, 2021.
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Figure 6: John and Stacie Getsinger entering Capitol Building on January 6, 2021.




        A review of CCTV footage from the Rotunda show two individuals who law enforcement
believe to be John and Stacie Getsinger enter the area. At some point, the individual who law
enforcement believes to be John Getsinger enters the view of the camera appearing to use his
cellular device. (Figure 7).
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Figure 7: John and Stacie Getsinger in the Rotunda while John Getsinger appears to use his cellular
device.




       John Getsinger remains on the phone as both John and Stacie walk across the Rotunda.
(Figure 8).

Figure 8: John and Stacie Getsinger continue to walk across the Rotunda as John Getsinger
remains on his cellular device.
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        After exiting the Rotunda, two individuals who law enforcement believe to be John and
Stacie Getsinger can be seen sitting on a bench near where they originally entered the U.S. Capitol
(Figure 9). At this point, it appears that the individual law enforcement believes to be John
Getsinger had removed his woodland camouflage jacket. Law enforcement still believes this
individual to be John Getsinger based on additional clothing items to include the shoes and red hat
that resemble the hat and shoes that the individual believed to be John Getsinger had on in the
Rotunda. (Figure 10).Shortly after they are viewed at the bench, the individual believe to be John
Getsinger is seen holding hands with an individual who law enforcement believes to be Stacie
Getsinger (Figures 10 and 11).

Figure 9: John and Stacie Getsinger at a bench after returning from the Rotunda area in the Capitol
Building on January 6, 2021.
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Figure 10: Screenshot of Rotunda CCTV showing John Getsinger wearing a red hat and Stacie
Getsinger following behind.




Figure 11: John and Stacie Getsinger holding hands inside the U.S. Capitol.




       On May 10, 2021, pursuant to a search warrant authorized in the District of Columbia, law
enforcement obtained records from Google related to service provided at the U.S. Capitol. John
Getsinger’s cellular device was identified as having utilized a cellular site consistent with the
geographic area that included the interior of the U.S. Capitol building in and around the time of
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the incident on January 6, 2021. Records further indicate, John Getsinger’s telephone number
ending in 5186, was active on Google cellular towers at approximately 2:44 PM EST on January
6, 2021.

       Pursuant to a search warrant authorized in the District of Columbia, law enforcement
obtained subscriber information for Facebook accounts believed to belong to John and Stacie
Getsinger. The subscriber information for the account belonging to John Getsinger had a verified
phone number that matches the phone number from records obtained from Google.

       In reviewing John Getsinger’s and Stacie Getsinger’s Facebook records, after the riot, John
Getsinger acknowledges his presence in the U.S. Capitol (Figure 12).

Figure 12: Facebook exchange between John Getsinger and other individuals regarding his
presence in the U.S. Capitol.
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       Stacie Getsinger acknowledged that they remained in the U.S. Capitol and expressed
concern that they will go to jail (Figure 13).
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Figure 13: Facebook exchange between John and Stacie Getsinger and other individuals regarding
Stacie Getsinger’s acknowledgment of walking around the U.S. Capitol and her concern that they
will go to jail.
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       Law enforcement compared the screenshots provided by the witnesses and the footage
from the CCTV with photos obtained from the Department of Motor Vehicles for the State of
South Carolina. Based on this comparison, law enforcement believes that individuals in the
screenshots provided by the witnesses and the footage from the U.S. Capitol’s CCTV are John and
Stacie Getsinger.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
John Hubert Getsinger Jr. and Stacie Ann Hargis-Getsinger violated Title 18 U.S.C. §§ 1752(a)(1) and
(2), which make it a crime to: (1) knowingly enter or remain in any restricted building or grounds
without lawful authority to do so; and (2) knowingly, and with intent to impede or disrupt the
orderly conduct of Government business or official functions, engage in disorderly or disruptive
conduct in, or within such proximity to, any restricted building or grounds when, or so that, such
conduct, in fact, impedes or disrupts the orderly conduct of Government business or official
functions; or attempts or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted
building” includes a posted, cordoned off, or otherwise restricted area of a building or grounds
where the President or other person protected by the Secret Service, including the Vice President,
is or will be temporarily visiting; or any building or grounds so restricted in conjunction with an
event designated as a special event of national significance.
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        Your affiant submits there is also probable cause to believe that John Hubert Getsinger Jr.
and Stacie Ann Hargis-Getsinger violated Title 40 U.S.C. §§ 5104(e)(2)(D)and(G), which make it a
crime to willfully and knowingly: (D) utter loud, threatening, or abusive language, or engage in
disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings
with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress or either
House of Congress, or the orderly conduct in that building of a hearing before, or any deliberations
of, a committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket
in any of the Capitol Buildings.



                                                   _________________________________
                                                   JAMES D. PATTERSON
                                                   FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 9th day of June 2021.
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                                                   ___________________________________
                                                   HONORABLE ROBIN M. MERIWEATHER
                                                   U.S. MAGISTRATE JUDGE
